Judgment was had in this case in the sum of $1,080.41, interest and costs, in favor of plaintiff, *Page 681 
and defendant appeals. Through concessions in the briefs the sum in dispute is reduced to $139. It is not thought necessary or useful to detail the original issues of the case, since the only issue for us to decide consists of one point of fact.
[1] Appellant relies upon a statement of account rendered to one of his customers. Against this the customer testifies that he believes the account to be incorrect and to show a sum greater than the true amount. He is not asked by either party as to particular items in error. If the trial court accepted the statement as correct, the judgment is for $139 too much. If it rejected the statement as unreliable, the judgment is correct.
The judgment must be sustained. The evidence was conflicting, and it is our duty to assume that the trial court gave it that construction which supports the judgment.
Judgment affirmed.
Works, P.J., and Craig, J., concurred.